                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION

IN RE: JANUARY 2021 SHORT SQUEEZE
TRADING LITIGATION                                                     MDL No. 2989


                                     PROOF OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial
Panel on Multidistrict Litigation, I hereby certify that copies of the foregoing Notice of Appearance
were served by Email on February 17, 2021 to the following:

Andrea Juncadella, et al. v. Robinhood Financial, et al., S.D. FL No. 1:21-cv-20414

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